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                                      LIMITED PARTNERSHIP AGREEMENT
                                                        FOR
                                      DIRECT DOCUMENT SOLUTIONS,LP,
                                          a California limited partnership




        THE PARTNERSHIP INTERESTS OFFERED HEREBY HAVE NOT BEEN REGISTERED
  UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE "SECURITIES ACT"), OR
  QUALIFIED UNDER THE CALIFORNIA CORPORATE SECURITIES LAW OF 1968, AS
  AMENDED, AND ARE BEING OFFERED IN RELIANCE ON SPECIFIC EXEMPTIONS THEREIN
  RELATING TO THE LIMITED AVAILABILITY OF THE OFFERING. THE UNITED STATES
  SECURITIES AND EXCHANGE COMMISSION DOES NOT PASS UPON THE MERITS OF OR
  GIVE ITS APPROVAL TO ANY SECURITIES OFFERED OR THE TERMS OF THE OFFERING,
  NOR DOES IT PASS UPON THE ACCURACY OR COMPLETENESS OF ANY OFFERING
  MEMORANDUM OR OTHER SELLING LITERATURE. THESE PARTNERSHIP INTERESTS ARE
  OFFERED PURSUANT TO AN EXEMPTION FROM REGISTRATION WITH THE SECURITIES
  AND EXCHANGE COMMISSION; HOWEVER, THE SECURITIES AND EXCHANGE
  COMMISSION HAS NOT MADE AN INDEPENDENT DETERMINATION THAT THE
  PARTNERSHIP INTERESTS OFFERED HEREUNDER ARE EXEMPT FROM REGISTRATION.
  THE COMMISSIONER OF CORPORATIONS OF THE STATE OF CALIFORNIA DOES NOT
  RECOMMEND OR ENDORSE THE PURCHASE OF THESE PARTNERSHIP INTERESTS, NOR
  HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR ADEQUACY OF THE
  INFORMATION SET FORTH HEREIN.



       PARTNERSHIP INTERESTS MAY ONLY BE SOLD, TRANSFERRED OR OTHERWISE
  DISPOSED OF BY AN INVESTOR IF SUBSEQUENTLY REGISTERED UNDER THE SECURITIES
  ACT AND QUALIFIED UNDER THE CALIFORNIA CORPORATE SECURITIES LAW OR IF, IN
  THE DETERMINATION OF COUNSEL FOR THE PARTNERSHIP, REGISTRATION OR
  QUALIFICATION UNDER SUCH ACTS IS NOT REQUIRED.




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                                      LIMITED PARTNERSHIP AGREEMENT
                                                        FOR
                                      DIRECT DOCUMENT SOLUTIONS,LP,
                                          a California limited partnership


          This Limited Partnership Agreement(this "Agreement")for DIRECT DOCUMENT
  SOLUTIONS,LP,a California limited partnership, dated as of January 3, 2017, is made and entered into
  by and among Direct Document Solutions, Inc., a California corporation, as the General Partner, and each
  ofthe parties whose names and addresses are set forth on Exhibit "A.." hereto as the Limited Partners.

           NOW THEREFORE,in consideration of mutual agreements, covenants and conditions contained
  herein, and for other good and valuable consideration, the receipt and adequacy of which are hereby
  acknowledged,the parties hereto hereby agree to the following:

   1.      DEFINITIONS

          When used in this Agreement,the terms set forth below shall have the following respective
   meanings unless otherwise provided or unless the context otherwise requires:

         1.1    "Act" means Title 2, Chapter 5.5 the California Corporations Code,known as the
  "Uniform Limited Partnership Act of2008," as amended from time to time.

           1.2    "Affiliate" means: (a)any person directly or indirectly controlling, controlled by or
  under common control with another person;(b)any person owning or controlling twenty percent(20%)
  or more ofthe outstanding voting or beneficial interests ofsuch other person;(c)any officer, director,
  partner, member, manager,trustee or anyone acting in a substantially similar capacity as to such other
  person; or(d)any person who is an officer, director, general partner, member, manager,trustee or holder
  oftwenty percent(20%)or more ofthe voting interests of any person described in clauses(a)through (c).

           The term "control," as used in the immediately preceding sentence, means, with respect to a
  corporation,the right to exercise, directly or indirectly, more than forty percent(40%)ofthe voting rights
  attributable to the controlled corporation, and, with respect to any individual, partnership, limited liability
  company,trust, other entity or association, the possession, directly or indirectly, ofthe power to direct or
  cause the direction ofthe management or policies ofthe controlled entity. (The word "person" is defined
  in Paragraph 13.3.) An Affiliate shall include family members(spouse,lineal descendants, brothers,
  sisters and parents) ofPartner as well as Affiliates ofthose family members.

            1.3      "Agreement" means this Limited Partnership Agreement,as it may be amended from
   time to time.

            1.4     "Approved by the Partners.- -Approval of the Partners or -Partners' Approval"
   means that(a)(i) the General Partner, and (ii) more than fifty percent(50%)ofthe Limited Partners, have
   consented or are required to consent, in writing, to a particular matter or action with each Limited Partner
   voting in accordance with their respective Percentage Interests in their sole discretion, or(b)sixty percent
  (60%)ofthe Limited Partners have so consented. Ifa Limited Partner fails to notify the General
   Partner(s) oftheir refusal to consent to a particular matter or action within five(5)days after receipt ofa
   request for such consent from a General Partner, that nonresponding Limited Partner shall be deemed to
   have rejected such matter or action.




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           1.5    "Assignee" means a person who has acquired a beneficial interest in a Partnership
  Interest but who is not a Substituted Partner.

            1.6     "Business- refers to one or more front- and/or back-end businesses involving(a)
   document preparation services (e.g., entity formation,IRS elections and applications, DBAs,trademark
   applications, notary services, etc.),(b)government benefit consulting (including, application assistance,
   disability assistance, student debt advisory services, student debt relief application consulting), and(c)
   direct mail, internet and other marketing (including without limitation production of art work, strategy,
   data, data sources, contacts, etc., associated with such marketing), lead generation, sales and front/back-
   end operations for all ofthe foregoing to be developed and operated by the Partnership.

           1.7     "Capital Account means, with respect to any Partner,the Capital Account maintained
  for such Partner in accordance with Regulations Section 1.704-1(b). Ifany interest in the Partnership is
  transferred in accordance with the terms ofthis Agreement,the transferee shall succeed to the Capital
  Account ofthe transferor to the extent it relates to the transferred interest.

           1.8      "Capital Contribution(s)" means the capital (including assets contributed as capital)
   contributed to the Partnership by the Partners.

            1.9     "Cash Available For Distribution" means the cash receipts from the operations ofthe
   Partnership, including the cash proceeds, ifany,from the sale or other disposition, financing, refinancing
   or liquidation of Partnership assets, less cash funds used to pay all Partnership expenses, debt payments
  (including the repayment ofloans to the Partnership from any Partner or Affiliate), capital improvements
   and replacements, and less the amount set aside for restoration or creation of reasonable reserves,
   contingencies, and other items. Expenses shall not include cost recovery, amortization and depreciation
   deductions and expenditures offunds from reserves. The determination ofthe amount and timing of any
   distributions and reserves shall be as provided in Paragraph 6.5.

           1.10 "Certificate" means the Certificate of Limited Partnership(LP-1)filed with the
   California Secretary of State in accordance with Paragraph 2.3, and any amendments thereto.

             1.11     "Code" means the Internal Revenue Code of 1986, as amended from time to time.

             1.12     "DDS Inc." means Direct Document Solutions, Inc., a California corporation.

           1.13 -General Partner refers to Direct Document Solutions, Inc., a California corporation,
   and any other person who may succeed it and/or be elected as a General Partner.

          1.14 "Income" and "Loss" means for each fiscal year or other period, an amount equal to the
  Partnership's taxable income or loss for such year or period, determined in accordance with
  Section 703(a)ofthe Code as adjusted pursuant to Regulations Section 1.704-1 (for this purpose, all
  items ofincome, gain, loss or deduction required to be stated separately pursuant to Section 703(a)(1)of
  the Code shall be included in taxable income or loss).

            1.15 "Limited Partners" refers to the persons who have been admitted to the Partnership as a
   Limited Partner in accordance with the provisions ofthis Agreement. Reference to a "Limited Partner"
   shall refer to any one ofthem.

          1.16 -Partners" refers collectively to the General Partner and to the Limited Partners, and any
  additional persons admitted to the Partnership as successor or substituted Partners. Reference to a
  "Partner" shall be to any one ofthe Partners.


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           1.17      -Partnership" means the limited partnership created under this Agreement and the
  Certificate.

           1.18 -Partnership Interest" means the interest ofeach Partner in the Partnership, including,
  but not limited to, that Partner's economic interest in the capital, income, gains, losses, deductions, credits
  and distributions ofthe Partnership.

           1.19 "Percentage Interest" means a Partner's Percentage Interest in certain ofthe income,
  gains, losses, deductions, credits and distributions ofthe Partnership as set forth in this Agreement. The
  current Percentage Interest ofthe General Partner is one percent(1%). The current Percentage Interest of
  each Limited Partner is as shown on Exhibit"A,"[Limited Partner Percentage Interests and Signature
  Page] and may be adjusted as provided in this Agreement.

          1.20 "ReEulations" means the Income Tax Regulations, including Temporary Regulations,
  promulgated under the Code, as amended from time to time (including corresponding provisions of
  succeeding regulations).

           1.21 "Substituted Partner" refers to a person who has acquired the rights of a Partner
  inherent in a Partnership Interest and been substituted in place ofthe transferring Partner in accordance
  with this Agreement.

  2.       FORMATION AND BUSINESS OF THE PARTNERSHIP

          2.1       Formation. The parties hereby agree to form a limited partnership under the provisions
  ofthe Act for the limited purpose and scope set forth in this Agreement. The rights and liabilities ofthe
  Partners shall be as provided in the Act, except as otherwise expressly provided in this Agreement. To
  the extent that the rights or obligations of any Partner are different by reason of any provision ofthis
  Agreement than they would be in the absence ofsuch provision, this Agreement shall, to the extent
  permitted by the Act, control.

          2.2     Purpose and Business ofPartnership. The business ofthe Partnership will be to develop
  and engage in the Business, and to do all things necessary, related or incidental to these purposes, as may
  be Approved by the Partners. The Partnership shall not engage in any other business unless Approved by
  the Partners.

          2.3      Certificate of Limited Partnership. The General Partner, on behalf ofthe Partnership,
  shall: (a)immediately execute a Certificate of Limited Partnership(LP-1)(the "Certificate")for the
  Partnership and cause that Certificate to be filed in the office ofthe California Secretary of State;(b)
  execute and cause to be filed certificates ofamendment ofthe Certificate whenever required by the Act or
  this Agreement;(c)execute and cause to be filed original or amended certificates evidencing the
  formation and operation ofthe Partnership whenever required under the laws ofany other states in which
  the Partnership determines to do business; and (d)if appropriate, record a certified copy ofthe Certificate
  and any amendment thereto in the office ofthe county recorder in every county in which the Partnership
  owns or contemplates owning real property or any interest in real property.

          2.4       Agent for Service ofProcess. The Partnership shall continuously maintain a registered
  agent in the State of California as required by the Act. The registered agent shall be as stated in the
  Certificate or as otherwise determined by the General Partner.

          2.5      Evidence ofNon-Foreign Status. The General Partner may,from time to time in its
  discretion, require any Partner or Assignee to provide to the Partnership (a)satisfactory evidence


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  (including, but not limited to, the certificate described in Regulations Section 1.1445-2(c)(2))that such
  person is not a foreign person (as defined in Regulations Section 1.897-1(k)), and(b)satisfactory
  evidence (including, but not limited to, a California Withholding Exemption Certificate - FTB Form 590)
  that such person is a California resident or, ifa corporation, partnership or limited liability company, has a
  permanent place of business in California. Partners who are unable to provide the certificates and/or
  forms referred to above may be subject to withholding as provided in Paragraph 6.9.

           2.6        Further Assurances. The Partners will execute such other certificates and documents,and
  the General Partner will file, record and publish such other certificates and documents, as may be
  reasonably necessary or appropriate to comply with the requirements ofapplicable laws governing the
  formation and operation ofa limited partnership(or a partnership in which special partners have a limited
  liability) in all jurisdictions where the Partnership desires to conduct business.

          2.7      Nature of Partners' Interests. The interests ofthe Partners in the Partnership shall be
  personal property for all purposes. All property owned by the Partnership, whether real or personal,
  tangible or intangible, shall be deemed to be owned by the Partnership as an entity, and no Partner as an
  individual or entity shall have an ownership interest in such property other than as a Partner.

           2.8     Title to Assets; No Partition. Title to the assets owned by the Partnership shall be held
  solely in the name ofthe Partnership or its nominee. The General Partner shall execute, file and record
  such documents as may be necessary to reflect the Partnership's ownership ofthe assets in such public
  offices in such states as may be required. The Partners agree that the Partnership assets are not and will
  not be suitable for partition. Accordingly, each Partner hereby irrevocably waives any and all rights that
  he or it may have to maintain any action for partition of any Partnership assets.

  3.       NAMES AND ADDRESSES OF THE PARTNERS AND THE PARTNERSHIP

         3.1     Partnership. The business ofthe Partnership shall be conducted under the name of Direct
  Document Solutions, LP,a California limited partnership, at the following address: 23785 El Toro
  Road, Suite 493, Lake Forest, CA 92630,or such other name or such other address within California as
  Approved by the Partners by notice to the Partners and by amendment to the Certificate.

          3.2       Partners. The name and current address ofeach General Partner and each Limited
  Partner is as listed on Exhibit"A" hereto.

  4.       TERM

          The Partnership shall commence on the date the Partnership's Certificate is filed with the
  California Secretary of State in accordance with the Act and shall continue until December 31, 2030,
  unless sooner terminated in accordance with this Agreement or the Act.

  5.        CAPITAL CONTRIBUTIONS

          5.1      Initial Contributions. It is the intention ofthe Partners and the Partnership to obtain
  necessary capital from one or more ofthe Partners for the building and establishment ofthe Business.
  Each ofthe Partners shall make or be obligated to make one or more cash contributions to the capital of
  the Partnership in an amount not to exceed the aggregate Capital Contribution shown for that Partner on
  Exhibit"A". As provided in Paragraph 6.1, Partner distributions shall be paid first to return prior Capital
  Contributions prior to any bottom-line distributions.




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            5.2     Capital Calls. Except as otherwise provided in this Agreement, no Partner shall be
   required to contribute any additional money or property to the capital ofthe Partnership. To the extent
   Approved by the Partners, from time to time, the Partners may be permitted to make additional Capital
   Contributions ifand to the extent they so desire, and ifthe General Partner determines that such additional
   Capital Contributions are necessary or appropriate for the conduct ofthe Partnership's business. In that
   event,the Partners shall have the opportunity, but not the obligation., to participate in such additional
   Capital Contributions on a pro rata basis in accordance with their Percentage Interests. Immediately
   following such Capital Contributions, the Percentage Interests shall be adjusted by the General Partner to
   reflect the new relative proportions ofthe Capital Accounts ofthe Partners.

             5.3    Loans to the Partnership. No Partner or Affiliate shall lend or advance money to the
   Partnership or for the Partnership's benefit unless that loan and the terms thereof are Approved by the
   Partners. Ifa Partner and/or any affiliate ofa Partner, after all other resources for financing are
   exhausted, agrees to undertake any Partnership financial obligation and becomes liable on a recourse
   basis for any such financial obligation, the Partnership shall (to the extent permitted by any outstanding
   obligations ofthe Partnership) be obligated to retire such debt first before retiring any other debt ofthe
   Partnership. The Partnership shall, while such debt is still in existence, fully indemnify that Partner or
   affiliate from any liability arising from such debt or obligation. Such indemnity shall be paid out of
   Partnership assets.

            5.4     Withdrawal or Return of Capital. No Partner may withdraw or is entitled to a return of
   their Capital Contribution or Capital Account except as provided in this Agreement or in the Act. No
   Partner shall have the right to demand and receive property other than cash in return for their Capital
   Contribution. Notwithstanding the foregoing, no part ofthe Capital Contribution ofany Partner shall be
   withdrawn unless all liabilities ofthe Partnership (except liabilities to the Partners on account oftheir
   Capital Contributions) have been paid or unless the Partnership has assets sufficient to pay the same as
   they become due. A Partner shall look only to the assets ofthe Partnership and ifthe Partnership property
   remaining after the payment or discharge ofthe debts and liabilities ofthe Partnership is insufficient to
   return such Capital Contributions, that Partner shall have no recourse against the General Partner or any
   other Partner for such return.

           5.5      No Priority. No Partner shall have priority over any other Partner as to contributions,
   distributions or compensation by way ofincome, except as otherwise provided in this Agreement or in the
   Act.

           5.6     Interest on Capital Contributions. No Partner shall be entitled to receive interest on their
   Capital Contributions.

           5.7      Use ofCapital. The Capital Contributions to the Partnership shall be used and employed
   only for the benefit and advantage ofthe Partnership and for no other purpose.

   6.        ALLOCATIONS OF INCOME,LOSS AND DISTRIBUTIONS

          6.1      Distribution of Cash Available For Distribution. Except as otherwise provided in
   Paragraphs 6.3 and 11.3, Cash Available For Distribution shall be distributed to the Partners as follows:

                    (a)       Return of Additional Capital Contributions (Capital Calls). First, to any Partner
   in the ratio that the unreturned additional Capital Contributions ofeach Partner bears to the aggregate
   unreturned additional Capital Contributions ofall Partners contributed pursuant to Paragraph 5.2 until all
   unreturned additional Capital Contributions are reduced to zero (0).



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                   (b)      Return ofInitial Capital Contributions. Next,to the Partners in the ratio that the
   unretumed initial Capital Contributions of each Partners bears to the aggregate unreturned initial Capital
   Contributions of all Partners contributed pursuant to Paragraph 5.1 until all unreturned initial Capital
   Contributions are reduced to zero (0).

                  (c)       Percentage Interests. Next,the balance to the Partners in accordance with their
   relative Percentage Interests.

            6.2    Non-Equity Participation Fee. The Partnership shall pay DDS Inc.(so long as it remains
   the General Partner) an amount equal to the Non-Equity Participation Fee described in Exhibit"B"
   hereto. The amounts paid pursuant to this Paragraph 6.2 are non-vested, non-equity participation
   payments subject to the conditions provided Exhibit"B" and are intended to constitute arm's length, pre-
   profit expense payments pursuant to Section 707(c) ofthe Code and shall not be treated as distributions
   for purposes ofcomputing Capital Accounts.

            6.3      Tax Distributions. Notwithstanding any other provision ofthis Agreement,and without
   regard to any calculation of Cash Available for Distributions (including estimates of working capital and
   reserve needs), the Partnership shall make a tax distribution in cash (the "Tax Distribution")to each
   Partner (at least annually on or before January 31'or prior to the due date for quarterly tax payments) of
   amounts which, in the aggregate with other distributions pursuant to Paragraph 6.1, are not less than the
   result obtained by multiplying the Tax Rate(as hereinafter defined) by the estimated Income ofthe
   Partnership allocable to each ofthe Partners under Paragraph 6.4 for the preceding tax year or preceding
   quarter (but only to the extent that the Partnership's total Income has exceeded total Loss). However,
   such payments shall not be made if either(a)that Partner has already received other distributions that year
   or quarter pursuant to Paragraph 6.1 which equal or exceed the cumulative potential Tax Distribution for
   that year, or(b)such payments are likely to result in Capital Contributions being required to be made in
   the future. In addition, no such distributions shall be made to any Partner that would cause that Partner to
   have a negative Capital Account at the end ofthe fiscal year. The "Tax Rate" shall be the sum ofthe
   highest federal and California marginal rates in effect for individual taxpayers during such year. To the
   extent a Partner receives a distribution pursuant to this Paragraph 6.3,those distributions shall be treated
   as an early distribution ofany amounts the Partner would be entitled to receive pursuant to Paragraph 6.1.

            6.4      Allocation ofIncome and Loss. Except as otherwise provided in this Agreement,the
   Partnership's Income and Loss, and all related items, such as revenues, expenses, capital gains and losses,
   preferences, deductions and credits, shall be allocated to the Partners in accordance with their Percentage
   Interests. Notwithstanding the preceding sentence, no Loss shall be allocated to any Limited Partner who
   is not a General Partner to the ex-tent such allocation of Loss would cause that Limited Partner to have an
   Adjusted Capital Account Deficit at the end of any fiscal year. All Loss in excess ofthe limitation set
   forth in this Paragraph 6.4 will be allocated to the General Partner in accordance with their relative
   Percentage Interests.

            For purposes ofthis Paragraph,the term "Adjusted Capital Account Deficit" means, with
   respect to any Limited Partner,the deficit balance, ifany,in that Limited Partner's Capital Account as of
   the end ofthe relevant fiscal year, after giving effect to the following adjustments:(a)A credit to such
   Capital Account of any amounts which that Limited Partner is obligated to restore pursuant to this
   Agreement or is deemed to be obligated to restore pursuant to the next to last sentence of Regulations
   Sections 1.704 2(g)(1) and 1.704 2(i)(5), and (b)a debit to such Capital Account for the items described
   in Regulations Sections 1.704 1(b)(2)(ii)(d)(4),(5)and (6). This definition of Adjusted Capital Account
   Deficit is intended to comply with the provisions of Regulations Section 1.704 1(b)(2)(ii)(d) and shall be
   interpreted consistently therewith.



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           6.5      Timing of Distributions. The determination of reserves and the amount and timing of
   distributions of Cash Available For Distribution shall be made as Approved by the Partners.

           6.6      Consent by Partners. The methods hereinabove set forth by which income, gains, losses,
   deductions, credits and distributions are allocated and apportioned are hereby expressly consented to by
   each Partner as a specific condition to becoming a Partner. Each Partner covenants that he or it will make
   no claim or representation concerning the income tax effects ofthe provisions contained in this
   Agreement that is inconsistent with the provisions ofthis Agreement.

            6.7     In-Kind Distributions. To the extent that non-cash assets are distributed to the Partners,
   the fair market value ofthose assets shall first be determined and the Capital Accounts ofthe Partners
   shall be adjusted to reflect any gain or loss which would have been generated had the assets been sold for
   their determined value. Then those assets shall be distributed in accordance with that valuation. Any
   non-cash assets (including, but not limited to, promissory notes) received by the Partnership in connection
   with a sale or other disposition may be distributed in kind to the Partners or to a collection account with
   the proceeds to be distributed in accordance with the terms ofthis Paragraph 6,as received. The fair
   market value ofassets distributable in-kind to be determined under this Paragraph 6.7 shall be equal to an
   amount Approved by the Partners.

           6.8      Assignment of Partnership Interests. Ifa Partner assigns or transfers all or part oftheir
   Partnership Interests to another person during any fiscal period, allocations to the Partnership Interests for
   tax and accounting purposes shall be divided and allocated between the transferor and the transferee in
   accordance with such daily, monthly, semi-monthly or other convention provided in Section 706 ofthe
   Code and the Regulations thereunder that is selected by the General Partner.

            6.9      Amounts Withheld. All amounts withheld pursuant to the Code or any provision of any
   state or local tax law with respect to any income or gain realized by the Partnership or any payment or
   distribution to the Partnership or the Partners shall be treated as amounts distributed to the Partners
   pursuant to this Paragraph 6 for all purposes under this Agreement. The General Partner is authorized to
   withhold from distributions, or with respect to allocations, to any Partner and to pay over to any federal,
   state or local government any amounts required to be so withheld pursuant to the Code or any provisions
   ofany other federal, state or local law, and shall allocate any such amounts to the Partners with respect to
   which such amounts were withheld.

   7.        MANAGEMENT

            7.1     Management by the General Partner. The business, assets and affairs ofthe Partnership
   shall be managed exclusively by the General Partner. All such decisions concerning the management and
   control ofthe Partnership that are approved by the General Partner shall be binding on the Partnership,
   and each ofthe Partners. Except for situations in which the Approval ofthe Partners is expressly required
   by this Agreement,the General Partner shall have full, complete and exclusive authority, power and
   discretion to manage and control the business, property and affairs ofthe Partnership,to make all
   decisions regarding those matters and to perform any and all other acts or activities customary or incident
   to the management ofthe Partnership's business, property and affairs. The signature ofa General Partner
   on any document is effective to bind the Partnership.

           7.2     General Partner(s). The Partnership shall initially have one(1)General Partner with
   DDS Inc. being the initial General Partner. The number of General Partners ofthe Partnership shall be
   fixed from time to time by the Approval ofthe Partners, provided that in no instance shall there be less
   than one General Partner and provided further that ifthe number of General Partners is increased to more
   than one,the Certificate shall be amended to delete the statement that the Partnership has only one


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   General Partner, and that ifthe number of General Partners is reduced from more than one to one,the
   Certificate shall be amended to so state. Upon the bankruptcy, removal or withdrawal of a General
   Partner, such General Partner shall be converted to a Limited Partner. In the event there are more than
   one(1)General Partner, any action requiring the consent or approval ofthe General Partner shall be
   deemed to require the consent or approval ofa majority ofthe General Partners with each General Partner
   having one(1)vote.

           7.3      Removal ofthe General Partner(s). At any time, Partners owning more than fifty percent
  (50%)ofthe Percentage Interests may remove a General Partner with or without cause, and may elect
   any person as a new General Partner. Unless otherwise provided in this Agreement,the General Partner's
   Partnership Interest shall be converted to a Limited Partner interest upon removal.

          7.4     Tax Matters Partner. The Partners do hereby appoint Theresa Wray,an officer ofthe
   General Partner,to act as the -Tax Matters Partner" as defmed in Section 6231(0(7)ofthe Code.

           7.5      Acts Requiring the Approval ofthe Partners. The General Partner shall not take or cause
   the Partnership to take any ofthe following actions without the Approval ofthe Partners:

                           (a)       Merge or convert the Partnership with or into another
            corporation, limited liability company, partnership or other person; provided in no event
            shall a Limited Partner be required to become a general partner in a merger with, or a
            conversion into, a partnership without their express written consent.

                           (b)      File any voluntary petition for the Partnership under the federal
            bankruptcy act, or seek the protection of any other federal or state bankruptcy or
            insolvency law or debtor relief statute.

                               (c)        Enter into any business other than the Business..

                               (d)         Confess ajudgment against the Partnership.

                               (e)        Dispose ofthe goodwill ofthe business.

                                          Loan any Partnership funds.

                          (g)       On behalf of the Partnership guarantee or secure the obligations
            ofa Limited Partner or any other person other than the Partnership.

                           (h)      Make any expenditure or expenditures, or incur any obligation or
            obligations, which when added to any other expenditures or obligations for the fiscal year
            ofthe Partnership, exceeds One Hundred Thousand Dollars($100,000).

                           (i)     Borrow funds in any amount or incur any other obligation or
            expenditure on behalfofthe Partnership.

                                    Prepay, in whole or in part, refinance, increase, modify or extend
            any obligations affecting the assets ofthe Partnership.

                            (k)           Enter into any contract or transaction with any Partner or any
            affiliate ofa Partner.



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                          (1)      Enter into any joint venture, partnership, limited liability
            company or other business entity.

                               (m)        Issue new Partnership Interests.

                               (n)        Admit any other person or entity as a General Partner or Limited
            Partner.

                          (o)             Do any act in contravention ofthis Agreement in its present form
            or as amended.

                           (p)      Take any other action which is required to be Approved by the
            Partners by any other provision ofthis Agreement.

            7.6      Compensation ofthe Partners. Unless Approved by the Partners, none ofthe Partners
   shall be entitled to receive, directly or indirectly, any compensation, commission or other payment for or
   on account of or in connection with the performance ofany ofthe duties or services to be performed by
   any ofthem under this Agreement.

           7.7       Contract With Affiliates, The General Partner may contract on behalfofthe Partnership
   with affiliates ofa Partner to provide services or materials for the Partnership provided that the fees or
   amounts to be paid therefore and/or the terms and conditions thereof are fair and reasonable to the
   Partnership and are not less favorable to the Partnership than those which could be reasonably obtained by
   the Partnership from equally qualified but unaffiliated third parties, and provided that such transaction is
   Approved by the Partners.

           7.8      Partnership Funds. The General Partner shall open and maintain, at bank(s)or brokerage
   company(ies)as approved by the General Partner, a special account or accounts in which shall be
   deposited all cash contributions ofthe Partners and all other funds ofthe Partnership. Funds in the
   account or accounts shall be used only for the business ofthe Partnership, and all withdrawals shall be
   made only on checks signed by a General Partner or by a person designated by the General Partner.

            7.9      Reimbursement ofPartners. The Partners and their affiliates shall be entitled to
   reimbursement from the Partnership for all reasonable out-of-pocket expenses incurred by them or their
   affiliates, on behalfofthe Partnership and/or its assets, in managing the business and affairs ofthe
   Partnership and/or the its assets and in the formation ofthe Partnership including, but not limited to, each
   Partner's legal and accounting expenses incurred on behalf ofthe Partnership.

            7.10 Devotion of Time. The General Partner, as well as any officer, director, partner, member,
   manager, employee,trustee and/or agent ofa General Partner, shall not be required to devote their full
   time to the affairs ofthe Partnership but only that amount oftime which each General Partner believes is
   reasonably necessary to perform its obligations under this Agreement.

           7.11     Termination ofGeneral Partner. Notwithstanding Sections 15906.05 ofthe Act, a
   General Partner shall cease being a General Partner upon its adjudication of bankruptcy or insolvency, or
   its withdrawal from the Partnership. A General Partner may not withdraw as a General Partner ofthe
   Partnership without the Approval ofthe Partners, which approval may be withheld or denied in the sole
   discretion ofthe relevant Partners, or which may be conditioned on such requirements as may be imposed
   by the relevant Partners in their sole discretion. A General Partner may not dispose of its interest as a
   general partner in the Partnership except pursuant to this Paragraph 7.11 or as otherwise expressly



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   provided for in this Agreement. In the event that a General Partner breaches this Paragraph 7.11, that
   General Partner shall be liable for all resulting damages to the other Partners.

            7.12 Cooperation. Each Partner agrees to use their reasonable efforts in performing their
   duties and responsibilities, and to cooperate with the other Partners in accordance with the terms and
   spirit ofthis Agreement.

            7.13 Fiduciary Duties. The General Partner shall owe fiduciary duties ofthe highest level to
   the Partnership and the Limited Partners and shall user their best efforts in performing their duties and
   responsibilities. Such fiduciary duties shall include(but not be limited to)the duty ofloyalty, the duty of
   care and the duty ofgood faith and fair dealing.

                   (a)     Duty of Loyalty. The General Partner's duty ofloyalty shall include (but not be
   limited to)the following obligations:

                           (i)        Account and Hold. The General Partner must account to the Partnership,
   and hold as a trustee for it, any property, profit, or benefit obtained by the General Partner in the conduct
   or winding up ofthe Partnership business or from a use by the General Partner ofPartnership property or
   information.

                           (ii)    Company Opportunities. The General Partner also must not appropriate
   a business opportunity ofthe Partnership.

                            (iii)    Non-Competition. The General Partner must also refrain from dealing
   with the Partnership in the conduct or winding up ofthe Partnership's business as or on behalfofa party
   having an interest adverse to the Partnership and may not compete with the Partnership in the conduct of
   its business before the dissolution ofthe Partnership. This duty not to compete with the Partnership shall
   exist even after the General Partner withdraws from the Partnership.

                            (iv)     Disclosure. The General Partner must disclose to the other Partners
   matters affecting their business relationship.

                  (b)       Duty of Care. The General Partner shall at all times maintain duty of care in the
   conduct or winding up ofthe Partnership's business to refrain from engaging in negligent or reckless
   conduct, intentional misconduct or a knowing violation oflaw.

                   (c)       Good Faith and Fair Dealing. The General Partner must discharge their duties
   and exercise their duties under this Agreement and the Act consistently with the obligation ofgood faith
   and fair dealing so as to (i) not act in bad faith, or (ii) do anything that will deprive the other Partners to
   the Agreement ofthe benefits contemplated in this Agreement.

           7.14 Confidentiality. Non-Disclosure, Non-Circumvention and Non-Competition. As material
   consideration for the other Partners agreeing to enter into this Agreement,the General Partner as well as
   each key employee or officer ofthe General Partner shall enter into the Confidentiality and Non-
   Circumvention Agreement, attached hereto as Exhibit"C".

            7.15 Fraud. Negligence, Misconduct or Breach of Duty/Agreement. If a General Partner(or
   its shareholder, directors, officers and/or representative(s))(the "Breaching General Partner")shall
   commit any act offraud, negligence, misconduct, dishonesty, breach offiduciary duty, or breach or
   default ofthis Agreement(and/or any other agreement contemplated by this Agreement), with respect to
   the Partnership, its Business, its assets or its Partners, the Limited Partners (excluding any Limited


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   Partners affiliated with General Partner) may, without prejudice to any other rights the nondefaulting
   Limited Partners may have, elect by notice to the Breaching General Partner to cause the Partnership to
   purchase the Partnership Interests belonging to that Breaching General Partner as well the Partnership
   Interests belonging to any Affiliate ofthe Breaching General Partner. In such case,the purchase price for
   all such Partnership Interests shall be an amount equal to the combined positive Capital Account balance
   ofthe Breaching General Partner and its Affiliate Limited Partner (if any), as ofthe date the election to
   redeem is made. Ifthe combined Capital Account balance is negative,than the Partnership may redeem
   or rescind the Partnership Interest ofthe Breaching General Partner and its Affiliate Limited Partner
   without payment. Any payment shall be from Partnership cash flow in equal installments over the course
   oftwenty-four(24)months. Alternatively, a majority ofthe Limited Partners(excluding any Limited
   Partners affiliated with General Partner), voting in accordance with their respective Percentage Interests,
   may elect to convert the Partnership Interests ofthe Breaching General Partner and its Affiliate Limited
   Partner(ifany)to nonvoting status.

   8.        LIMITED PARTNERS

            8.1       Status ofLimited Partners. Except as required under the Act or as expressly set forth in
   this Agreement,a Limited Partner shall not be bound by, or be personally liable for, the expenses,
   liabilities or obligations ofthe Partnership except to the extent ofthe Capital Contributions required to be
   made by he or it under the terms ofthis Agreement and any additional Capital Contributions actually
   made by he or it. However,the Limited Partners understand that a Limited Partner will be liable to the
   Partnership in an amount equal to any distributions made to such Limited Partner if, after the distribution
   is made, the remaining assets ofthe Partnership are not sufficient to pay the Partnership's then
   outstanding liabilities, exclusive of nonrecourse liabilities and liabilities to the Partners on account of
   their interests in the Partnership.

          8.2     Nonassessability. Each Partnership Interest, when issued, shall be fully paid and
   nonassessable(except as provided in Paragraph 5.2 or otherwise in this Agreement.)

           8.3      No Participation in Management. Pursuant to Paragraph 7,the management ofthe
   Partnership is vested in the General Partner. No Limited Partner, acting solely in the capacity ofa
   Limited Partner, is an agent ofthe Partnership nor can any Limited Partner in such capacity bind nor
   execute any instrument on behalf ofthe Partnership. Except for certain voting rights as otherwise
   provided in Paragraph 7.5 or elsewhere in this Agreement,the Limited Partners have no voting or
   approval rights and no right or power to take part in the management or control ofthe Partnership or its
   business, or to act for or bind the Partnership in any way.

           8.4     Admission of Substituted or Additional Limited Partners. A substituted or additional
   Limited Partner may only be admitted to the Partnership pursuant to the terms and conditions as provided
   in Paragraph 10.

   9.        BOOKS AND RECORDS

            9.1      Books and Records. The General Partner, at Partnership expense, shall maintain at the
   Partnership's principal office in California adequate books and records that will fully and accurately set
   forth all transactions entered into by the Partnership arising out ofor connected with the conduct of its
   business. In addition,the Partnership will maintain all ofthe records required to be kept under the Act at
   its principal office in California. Any Partner, or their designated representative, may inspect and copy
   the Partnership's books and records at their own expense, at reasonable times and on reasonable notice.




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            9.2     Annual Report. The General Partner shall have prepared at least once annually, at
   Partnership expense, a report containing (a) a balance sheet as ofthe end ofthe fiscal year and an income
   statement for the fiscal year; and (b)a statement of each Partner's share ofthe Partnership's income,
   gains, losses, deductions and credits for use in the preparation of their tax return for such fiscal year.
   Copies ofthe above shall be in the form maintained by the Partnership and shall be distributed to each
   Partner within ninety (90)days after the close of each taxable year ofthe Partnership.

            9.3     Tax Returns. The General Partner, at Partnership expense, shall cause income tax returns
   for the Partnership to be prepared and timely filed with the appropriate authorities.

            9.4     Special Reports. The General Partner, at Partnership expense, shall cause to be prepared
   and timely filed with appropriate federal and state regulatory and administrative bodies all reports
   required to be filed with such entities under the then current applicable laws, rules and regulations. Such
   reports shall be prepared under the accounting or reporting basis required by such regulatory bodies.

           9.5    Tax Elections. All elections that are required or permitted to be made by the Partnership
   under the Code or any applicable state or local tax law (including, but not limited to, the election under
   Section 754 ofthe Code) will be made by the General Partner, in their reasonable good faith discretion.

            9.6        Fiscal Year. The fiscal year ofthe Partnership shall end on December 31.

   10.      TRANSFER OF PARTNERSHIP INTERESTS

             10.1 Permitted Transfers. A General Partner may not sell, assign, exchange, pledge or
   otherwise transfer or encumber all or any part oftheir Partnership Interest. A Limited Partner may not
   sell, assign, exchange, pledge or otherwise transfer or encumber all or any part oftheir Partnership
   Interest, without first obtaining the Approval ofthe Partners, except as follows:

                     (a)        To another Limited Partner; or

                     (b)        To a Controlled Affiliate (as defined below).

            Any act in violation ofthis Paragraph 10.1 shall not be binding upon or recognized by the
   Company and any purported transfer that does not comply with this Agreement is void. Unless the
   admission ofthe transferee to the Company in substitution for his transferor is Approved by the Partners,
   the transfer shall not terminate any ofthe transferor's obligations under this Agreement. In addition, any
   Partnership Interest transferred pursuant to Paragraphs 10.1 shall continue to remain subject to the
   provisions ofthis Paragraph 10.

            A "Controlled Affiliate" means with respect to a Limited Partner: (a)that Limited Partner;(b)a
   trust for the benefit of that Limited Partner, and/or the spouse and/or lineal descendants of that Partner, in
   which that Limited Partner either serves as a trustee, or has the power to remove the trustee and substitute
   himself as trustee, and if acting as trustee has the power to bind the trust with his signature alone;(c)a
   corporation in which stock possessing more than eighty percent(80%)ofthe combined voting power of
   all classes ofstock eligible to vote is owned directly or indirectly by that Limited Partner, and/or their
   Controlled Affiliates;(d)a general partnership in which more than eighty percent(80%)ofthe combined
   eighty percent(80%)ofthe capital, profits and voting interests are owned directly or indirectly by that
   Limited Partner, and/or their Controlled Affiliates;(e)a limited partnership in which that Limited Partner,
   and/or their Controlled Affiliates are the sole general partner(s), retain voting control and own more than
   eighty percent(80%)ofthe capital and profit interests ofthat entity; or(f)a limited liability company in
   which that Limited Partner, and/or their Controlled Affiliates are either the sole manager(s)(ifthere are


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   managers)or a majority in interest ofthe members (ifthere are no managers), and also as members and/or
   manager(s) retain management and voting control and own more than eighty percent(80%)ofthe capital
   and profit interests ofthat entity.

            10.2 No Transfer Permitted. Notwithstanding any other provision ofthis Agreement, unless
   Approved by the Partners, no sale, exchange, transfer or assignment of any Partnership Interests by a
   Partner, directly or indirectly, is permitted.

             10.3 Indirect Transfers. Any sales, transfers or encumbrances, directly or indirectly, ofan
   aggregate interest offifty percent(50%)or more in the income, losses, capital, or voting or management
   rights of any Partner that is a corporation, partnership, limited liability company,trust or other entity, or
   any amendment or change to the partnership agreement ofa Partner that is a partnership, to the operating
   agreement ofa Partner that is a limited liability company,or to the trust agreement or trustees ofa Partner
   that is a trust, that changes the management or control ofthat entity, shall be considered a prohibited sale,
   transfer or encumbrance ofthe Partnership Interests ofthat Partner for purposes ofthis Paragraph 10.

            10.4 Rights of Assignee. An Assignee who is not admitted as a Substituted Partner is entitled
   only to allocations and distributions pursuant to Paragraphs 6 and 11 with respect to the Partnership
   Interests that Assignee acquires, and that Assignee has no right to any information or accounting ofthe
   affairs ofthe Partnership, is not entitled to inspect the Partnership's books or records, and does not have
   any ofthe rights ofa Partner under this Agreement or the Act.

             10.5      Admission of Substituted Partners.

                    10.5.1     Subject to the other provisions ofthis Paragraph 10, a transferee of a
   Partnership Interest may be admitted to the Partnership as a Substituted Partner only if all ofthe following
   conditions are satisfied:

                                    (a)       The Approval ofthe Partners is obtained.

                            (b)        The Partnership Interest(s) with respect to which the transferee is
   being admitted were acquired in a transfer permitted under this Agreement.

                              (c)     The transferee becomes a party to this Agreement, and executes any
   documents or instruments that the General Partner reasonably request(including, but not limited to, an
   amendment to this Agreement and an instrument pursuant to which the transferee agrees to be bound by
   all ofthe terms ofthis Agreement).

                              (d)      The transferee pays or reimburses the Partnership for all costs
   incurred by the Partnership in connection with the admission ofthe transferee.

                     10.5.2       A Substituted Partner has all ofthe rights and powers, and is subject to all the
   restrictions and liabilities, of their transferor, except those liabilities he or it was ignorant ofat the time he
   or it became a Partner and that could not be ascertained from this Agreement.

            10.6 Void Transfers. Any assignment, sale, exchange or other transfer in contravention ofany
   ofthe provisions ofthis Agreement shall be void and ineffectual, and shall not bind or be recognized by
   the Partnership.

          10.7 Covenant Not to Withdraw. Each Limited Partner agrees not to withdraw or attempt to
   withdraw from the Partnership.


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   11.      TERMINATION AND DISSOLUTION OF THE PARTNERSHIP

           11.1 Termination. The Partnership shall be terminated and dissolved in accordance with the
   Act or upon the first to occur ofany ofthe following events:

                     (a)        The Approval ofthe Partners in favor oftermination and dissolution ofthe
   Partnership.

                   (b)      Substantially all ofthe assets ofthe Partnership are sold or liquidated, unless
   before the completion ofthe transactions all ofthe Partners agree in writing that the transactions shall not
   cause the dissolution ofthe Partnership.

                     (c)        Judicial decree.

                     (d)        The expiration ofthe term ofthe Partnership.

                     (e)         Any Partner acquires all ofthe Partnership Interests.

             11.2     Winding Up ofthe Partnership.

                     11.2.1      Upon the dissolution ofthe Partnership, the General Partner shall proceed to
   the winding up ofthe affairs ofthe Partnership and the assets shall be liquidated as promptly as is
   consistent with obtaining reasonable values for the assets. Ifthe Partnership is dissolved as a result ofthe
   Partnership no longer having a General Partner, a majority in interest ofthe Limited Partners shall, within
   sixty (60)days after the event ofthe dissolution, appoint a trustee to wind up and terminate the business
   and affairs ofthe Partnership. The assets may be distributed in kind or may be transferred, exchanged or
   sold at public or private sales as the General Partner shall deem advisable, and any Partner may purchase
   assets in the event ofa sale. Every reasonable effort shall be made to dispose ofthe assets ofthe
   Partnership so that the distribution may be made to the Partners in cash.

                    11.2.2      During the period ofthe winding up ofthe affairs ofthe Partnership, the rights
   and obligations ofthe General Partner set forth in this Agreement concerning the management ofthe
   Partnership shall continue. For purposes of winding up,the General Partner shall continue to act and
   shall make all decisions relating to the conduct of any business or operations during the winding up
   period.

           11.3 Distributions. The proceeds from the liquidation, to the extent available, shall be applied
   and distributed by the Partnership in the following order of priority:

                   (a)      To the payment and discharge of all ofthe Partnership's debts and liabilities to
   creditors, including Partners(or former Partners) who are creditors, to the extent permitted by law, and
   including the payment of promissory notes assigned and guaranteed by the Partnership and the expenses
   ofliquidation.

                   (b)       The balance, ifany, to the Partners in proportion to and to the extent ofthe
   positive balances in their respective Capital Accounts, after giving effect to all contributions, distributions
   and allocations for all periods.

            11.4 Compliance With Timing Requirements of Regulations. Ifthe Partnership is "liquidated"
   within the meaning of Regulations Section 1.704-1(b)(2)(ii)(g),(a)distributions shall be made pursuant to
   this Paragraph 11 (ifsuch liquidation constitutes a dissolution ofthe Partnership) or Paragraph 6(if it


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   does not)to the Partners who have positive Capital Accounts on or before the last day ofthe fiscal year in
   which the liquidation occurs(or, if later, ninety (90)days after the date ofthe liquidation), and(b)if any
   General Partner's Capital Account has a deficit balance (after giving effect to all contributions,
   distributions and allocations for all taxable years, including the year during which such liquidation
   occurs), such General Partner shall contribute to the capital ofthe Partnership the amount necessary to
   restore such deficit balance to zero in compliance with Regulations Section 1.704-1(b)(2)(ii)(b)(2).
   Distributions pursuant to the preceding sentence may be distributed to a trust established for the benefit of
   the Partners for the purposes ofliquidating Partnership assets, collecting amounts owed to the
   Partnership, and paying any contingent or unforeseen liabilities or obligations ofthe Partnership. The
   assets of any such trust shall be distributed to the Partners from time to time, in the reasonable discretion
   ofthe General Partner, in the same proportions as the amount distributed to such trust by the Partnership
   would otherwise have been distributed to the Partners pursuant to this Agreement.

            11.5 No Recourse Against Partners. A Partner shall look solely to the assets ofthe Partnership
   for the return oftheir investment. Ifthe Partnership property remaining after the payment or discharge of
   the debts and liabilities ofthe Partnership is insufficient to return such investment,the Limited Partners
   shall have no recourse against a General Partner or any other Limited Partner unless such failure is a
   result ofthe fraud, bad faith, gross negligence or willful misconduct by that Partner.

           11.6 Allocation ofIncome or Loss on Dissolution. Any Income or Loss arising out ofa
   disposition of Partnership assets during the course ofliquidation shall be allocated among the Partners
   under the allocation provisions ofParagraph 6 as ifthe Partnership were not being dissolved.

            11.7 Waiver of Right to Court Decree of Dissolution. All of the Partners agree that irreparable
   damage would be done to the goodwill and reputation ofthe Partnership ifany Partner should bring an
   action in court to dissolve the Partnership in any way other than as provided in this Agreement. Care has
   been taken in this Agreement to provide what the parties feel are fair and just methods ofliquidation of
   the interests ofall Partners. Accordingly, each Partner hereby waives and renounces their rights to a court
   decree of dissolution, to seek the appointment by the court ofa liquidator for the Partnership, to maintain
   an action for partition with respect to their undivided interest in the Partnership properties or to compel
   any sale ofthe Partnership properties.

            11.8 Death, Bankruptcy. Insolvency. Incapacity or Withdrawal ofa Partner Shall Not Dissolve
   the Partnership. Except as may otherwise be provided in this Agreement, under no circumstances shall
   the death, bankruptcy, insolvency, incapacity or withdrawal of any Partner, or the sale, assignment or
   other disposition of a Partnership Interest, result in the dissolution or termination ofthe Partnership.

   12.       AMENDMENTS

            This Agreement may be amended only with the Approval ofthe Partners. Notwithstanding any
   other provision ofthis Agreement, without the consent ofthe Partner or Partners to be adversely affected
   by any amendment to this Agreement, this Agreement may not be amended to(a)convert a Limited
   Partner's interest into a General Partner's interest;(b) modify the limited liability ofa Limited Partner;(c)
    alter the interest of a Partner in income, gains, losses, deductions, credits and distributions ofthe
   Partnership;(d)increase, add or alter any obligation of any Partner;(e) affect the treatment ofthe
   Partnership as a partnership for federal income tax purposes; or (f) alter this Paragraph 12.

   13.      GENERAL PROVISIONS

           13.1 Notices. Any notice, consent, waiver, demand, payment or other communication
   required or permitted to be given by or to any person pursuant to this Agreement(collectively, "notice")


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   must be in writing, and must be given either(a) by personal service (including service by overnight
   courier service);(b) by registered or certified first class mail, return receipt requested; or(c) by facsimile
  (if confirmed in writing sent that same day by personal service or by registered or certified, first class
   mail, return receipt requested),to a party at the address set forth in Paragraphs 3.2 for such Partner or at
   such other address as he or it may specify in writing. However,the notice of any meeting or the
  furnishing ofany financial statement to the Partners may be done by first class mail.

            Any notice, request or demand sent pursuant to clause (a)hereof shall be deemed received upon
   such personal service, and, if sent pursuant to clause(b)or(c) shall be deemed received on the date
   shown on the return receipt. All notices shall be addressed to and given to the party at the party's address
   as it appears in this Agreement or on any amendment to this Agreement, and a party may change the
   address at which notice is to be received, at any time and from time to time, by giving notice ofthe new
   address to all parties in accordance with this Paragraph 13.1. Rejection or other refusal to accept delivery,
   or the inability to deliver because ofa changed address of which no notice was given, shall be deemed to
   constitute receipt of notice or other communication sent.

            13.2 Titles, Captions and Paragraphs. All titles or captions of paragraphs contained in this
   Agreement are for convenience only and shall not be deemed part ofthe context ofthis Agreement. Such
   titles and captions in no way define, limit, extend or describe the scope ofthis Agreement nor the intent of
   any provision hereof. Reference to paragraph numbers are to the paragraphs as numbered in this
   Agreement unless expressly stated otherwise.

            13.3 Gender and Number. Concerning the words used in this Agreement, the singular form
   shall include the plural form, the masculine gender shall include the feminine or neuter gender, and vice
   versa, as the context requires, and the word "person" shall include any natural person, partnership,
   corporation, association, trust, estate or other legal entity.

           13.4 Successors and Assigns. Except as otherwise provided in this Agreement,this
   Agreement shall be binding upon and inure to the benefit ofthe parties, their heirs, executors,
   administrators, successors and all persons hereafter having or holding an interest in the Partnership,
   whether as Assignees, Substituted Partners or otherwise.

            13.5 Entire Agreement. This Agreement contains the entire understanding among the Partners
   and supersedes any prior written or oral understandings and agreements between them regarding the
   subject matter ofthis Agreement. There are no representations, agreements, arrangements or
   understandings, oral or written, between and among the Partners relating to the subject matter ofthis
   Agreement which are not fully expressed herein.

            13.6 Governing Law. Notwithstanding the place where this Agreement may be executed by
   any of parties hereto, the parties expressly agree that all the terms and provisions ofthis Agreement
          the
   and the rights and liabilities ofthe parties hereto shall be governed by and construed in accordance with
   the laws ofthe State of California(other than its choice oflaw rules) including, without limitation, to the
   extent permitted by law,the Act. Any action to interpret or enforce this Agreement shall be brought
   solely in the State of California. To the extent permitted by law,the parties agree that the sole venue for
   such action shall be Orange County, California. The parties each consent to the jurisdiction of California
   courts.

            13.7 Counterparts. This Agreement may be signed in multiple counterparts and by different
   parties in separate counterparts. Each counterpart shall be deemed an original agreement and all ofthem
   together shall constitute one agreement among all the parties signing any ofthe counterparts.



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           13.8 Severability. If any part ofthis Agreement is declared by a court ofcompetent
  jurisdiction to be invalid, void or unenforceable, such part shall be deemed severed from the remainder of
  the Agreement and the balance ofthe Agreement shall remain in effect.

           13.9 Non-Waiver of Rights and Breaches. Waiver by a party of any breach ofthe provisions
   ofthis Agreement shall not be deemed to be a waiver of any subsequent breach ofthis Agreement, or of
   any breach ofany other provision ofthis Agreement.

            13.10 Other Instruments. The parties hereto covenant and agree that they shall execute all other
   instruments and documents that are or may become necessary or convenient to effectuate and carry out
   the limited partnership created by this Agreement.

           13.11 Partition. Each ofthe parties hereto irrevocably waives during the term ofthe
   Partnership any right that it may have to maintain any action for partition with respect to the Partnership
   properties, except as herein otherwise expressly provided.

           13.12 Attorneys' Fees. In the event that any legal action is instituted between the parties arising
   out ofthis Agreement,the prevailing party or parties therein shall be entitled to recover a reasonable
   allowance for their or their attorneys' fees and court expenses, to be fixed and determined by the court in
   which said action is filed.

            13.13 Time of Essence. Time is expressly made ofthe essence concerning the performance by
   the Partners oftheir respective obligations under this Agreement.

             13.14 Authority. Each individual signing for each ofthe Partners warrants and represents that
   he or it is an authorized agent ofthe Partner on whose behalf he or it is signing this Agreement.

           13.15 Computation of Time. If any period oftime specified in this Agreement would otherwise
   end on a Saturday, Sunday or legal holiday, it shall be deemed extended to end on the next day following
   which is not a Saturday, Sunday or legal holiday.

            13.16 Investment Intent. Each Partner represents that he or it is acquiring the Partnership
   Interest for their own account or for a trust account, and not with a view to or for sale in connection with
   any distribution ofa security.

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     IN WITNESS WHEREOF,the undersigned Partners of Direct Document Solutions,                           ,hereby execute
     this Agreement.

     GENERAL PARTNER:                                      DIRECT DOCUMpiT SOLUTIONS,INC.,
                                                           a California corpOration
                                                                         /7

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                                                                             io; I
                                                           BV
                                                                   /
                                                                  eresa Wray, Preside & Secretary




                                                                Jimmy Calder, n, Chief Financial Officerareasurer


                             [SEE EXHIRIT"A"FOR SIGNATURES OF LIMITED PARTNERS]




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                                                    EXHIBIT"A"

                                            LIMITED PARTNER INFORMATION
                                                 AND SIGNATURE PAGE

                                                             Initial Capital           Percentage
   Name and Notice Address                               Contribution Obligation        Interests

   Sales Speck, Inc                                              $00.00                  14.88%
   Attn: Jawad Nesheiwat
   26631 Cuenca Drive
   Mission Viejo, CA 92691


            The signing of this Exhibit"A"by a Limited Partner shall constitute the agreement of such
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"), to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions of the Agreement, and agrees to be
   bound by and accept the provisions of the Agreement.

             This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   SALES SPEEK,INC., a California corporation


   By:
         Jawad Ne6i ei I President




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                                                      EXHIBIT"A"

                                            LIMITED PARTNER INFORMATION
                                                 AND SIGNATURE PAGE

                                                                Initial Capital           Percentage
     Name and Notice Address                               Contribution Obligation         Interests

     Mosto Financial, Inc.                                         $00.00                   9.90%
     Attn: Robert Hoose
     16202 Dana
     Irvine, Ca 92618


              The signing of this Exhibit"A" by a Limited Partner shall constitute the agreement of such
     Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP, a California
     limited partnership (the "Agreement"), to which this Exhibit "A" is attached. The undersigned represents
     that he, she or it has read, understands and approves the provisions of the Agreement, and agrees to be
     bound by and accept the provisions of the Agreement.

              This Exhibit"A" may be signed in multiple counterparts.

     LIMITED PARTNER:

     MOSTO FINANCIAL, INC., a California
     corporation


     By•
           Robert !loose, Pre tdent




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                                                          EXHIBIT "A"

                                              LIMITED PARTNER INFORMATION
                                                   AND SIGNATURE PAGE

                                                                    Initial Capital      Percentage
     Name and Notice Address                                   Contribution Obligation    interests

     Prime Ad Enterprise, Inc.                                          $00.00             9.90%
     Attn: David Sklar
     25181 MacKenzie Street
     Laguna Hills, CA 92653


              The signing of this Exhibit"A" by a Limited Partner shall constitute the agreement of such
     Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
     limited partnership (the "Agreement"), to which this Exhibit"A" is attached. The undersigned represents
     that he, she or it has read, understands and approves the provisions of the Agreement, and agrees to be
     bound by and accept the provisions of the Agreement.

               This Exhibit"A" may be signed in multiple counterparts.

     LIMITED PARTNER:

     PRI                                   NC., a California



     By:
            David        ar, President




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                                                  EXHIBIT"A"

                                         LIMITED PARTNER INFORMATION
                                              AND SIGNATURE PAGE

                                                           Initial Capital           Percentage
   Name and Notice Address                             Contribution Obligation        Interests

   Cre8labs, Inc.                                              $00.00                  14.88%
   Attn: Sean Cowell
   24632 La Plata Drive,
   Laguna Niguel, CA 92677


            The signing ofthis Exhibit"A" by a Limited Partner shall constitute the agreement ofsuch
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"),to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions ofthe Agreement,and agrees to be
   bound by and accept the provisions ofthe Agreement.

            This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   CRE8LABS,INC.,
   a California corporation


   B
         Scan Cowell, President




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                                                  EXHIBIT"A"

                                         LIMITED PARTNER INFORMATION
                                              AND SIGNATURE PAGE


                                                            Initial Capital          Percentage
   Name and Notice Address                             Contribution Obligation        Interests

   TDK Enterprises, LLC                                        $00.00                  14.88%
   3 Whatney, Suite 200
   Irvine, CA 92618


            The signing ofthis Exhibit"A" by a Limited Partner shall constitute the agreement ofsuch
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"),to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions ofthe Agreement,and agrees to be
   bound by and accept the provisions ofthe Agreement.

            This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   TDK ENTERPRISES,LLC,a California limited
   liability company


   By:
            TOM CHOU,its sole member




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                                                  EXHIBIT"A"

                                         LIMITED PARTNER INFORMATION
                                              AND SIGNATURE PAGE

                                                           Initial Capital            Percentage
   Name and Notice Address                             Contribution Obligation         Interests

   Newport Platinum Investments Inc.                           $00.00                   14.88%
   Attn: Tuan Nguyen
   895 Dove Street, Third Floor
   Newport Beach, CA 92660


            The signing ofthis Exhibit"A" by a Limited Partner shall constitute the agreement of such
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"),to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions ofthe Agreement, and agrees to be
   bound by and accept the provisions ofthe Agreement.

            This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   NEWPORT PLATINUM INVESTMENTS INC.,a
   California corporation


   By:
         Tuan Nguyen,President




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                                                  EXHIBIT"A"

                                         LIMITED PARTNER INFORMATION
                                              AND SIGNATURE PAGE

                                                           Initial Capital            Percentage
   Name and Notice Address                             Contribution Obligation         Interests

   XO Media,LLC                                                $00.00                   14.88%
   Attn: Mike Van Loon
   2629 Townsgate Road, Suite 205
   Westlake Village, CA 91361



            The signing ofthis Exhibit"A" by a Limited Partner shall constitute the agreement ofsuch
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"),to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions ofthe Agreement, and agrees to be
   bound by and accept the provisions ofthe Agreement.

            This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   XO MEDIA,LLC,a California limited liability
   company


   By:
         Mike Van Loon, Authorized Member




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                                                  EXHIBIT"A"

                                         LIMITED PARTNER INFORMATION
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                                                           Initial Capital            Percentage
   Name and Notice Address                             Contribution Obligation         Interests

   M&R Partners, LLC                                           $00.00                   2.39%
   Attn: Mike Van Loon




            The signing ofthis Exhibit"A" by a Limited Partner shall constitute the agreement ofsuch
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"),to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions ofthe Agreement, and agrees to be
   bound by and accept the provisions ofthe Agreement.

            This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   M&R PARTNERS,LLC,a California limited
   liability company


   By:
         Mike Van Loon, Authorized Member




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                                         LIMITED PARTNER INFORMATION
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                                                            Initial Capital           Percentage
   Name and Notice Address                             Contribution Obligation         Interests

   Westfield Mount Vernon Consultants, LLC                     $00.00                   2.39%
   Attn: Brad Brigante




            The signing ofthis Exhibit"A" by a Limited Partner shall constitute the agreement ofsuch
   Limited Partner to the Limited Partnership Agreement for Direct Document Solutions, LP,a California
   limited partnership (the "Agreement"),to which this Exhibit"A"is attached. The undersigned represents
   that he, she or it has read, understands and approves the provisions ofthe Agreement, and agrees to be
   bound by and accept the provisions ofthe Agreement.

            This Exhibit"A" may be signed in multiple counterparts.

   LIMITED PARTNER:

   WESTFIELD MOUNT VERNON CONSULTANTS,LLC,
   a California limited liability company


   By:
         Brad Brigante, Manager




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                                                            EXHIBIT"B"

                                         NON-EQUITY PARTICIPATION FEE


   NON-EQUITY PARTICIPATION FEE.
   The Partnership shall pay DDS Inc.(so long as it remains the General Partner) non-vested, non-equity
   participation fees in the amounts described further below. Such fees are intended to constitute an arm's
   length, pre-profit Partnership expense pursuant to Section 707(c)ofthe Code and shall not be treated as
   distributions for purposes ofcomputing Capital Accounts.

   PARTICIPATION FEE:

   1.        Monthly Base Fee. DDS,Inc. shall receive Eight Thousand Dollars ($8,000) per month.

   2.       Bonus Participation Fee. Contemporaneously with any Partner distributions pursuant to
            Paragraph 6.1(c)[Percentage Interests] ofthe Agreement, DDS,Inc. shall be entitled to a bonus
            participation fee as follows:

                        Partner5hip,              Bonus Fee       Bonus Fee                 Monthly Base Fee +
                1 DistributionlfillW 1(c)]        Percentage         0                 11111Bonus Partidpation Fee

                         $0         $75,000          0%             $0            $0         $8,000        $8,000
                    $75,000        $100,000         4.00%        $3,000       $4,000       $11,000        $12,000
                   $100,000        $150,000         5.00%        $5,000       $7,500       $13,000        $15,500
                   $150,000        $200,000         6.00%        $9,000   $12,000          $17,000        $20,000
                   $200,000          ?              8.00%       $16,000       7            $24,000         7

        3. Conditions/Limitations: The fee amounts provided above are conditioned upon Theresa Wray
           and Jimmy Calderon, together, remaining (i) as sole shareholders and sole directors in DDS,Inc.,
           and (ii) in control of, and actively engaged in, the direct management of DDS,Inc.

            •         If either Ms. Wray or Mr. Calderon shall (i) cease to be a shareholder and/or director in
                      DDS,Inc. and/or (ii) cease to be actively involved in the management ofthe DDS,Inc.
                     (and thereby cease managing the day-to-day affairs ofthe Partnership's Business), then
                      all fees (monthly base and bonus participation) described above shall be reduced by fifty
                      percent(50%).

            •         In the event Ms. Wray and Mr. Calderon shall both cease any ofthe foregoing [Sec.
                      3(a)(i) or (ii) above], then all fees (monthly base and bonus participation) described
                      above shall also immediately cease and be reduced to zero (0).




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